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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR376
                                                  )
NICHOLE BITTNER,                                  )                  ORDER
                                                  )
                       Defendant.                 )


       Before the court is defendant’s unopposed Motion to Continue Change of Plea Hearing
[71]. Good cause being shown, the motion will be granted and the previously scheduled
Change of Plea Hearing will be continued.

         IT IS ORDERED:

         1.     That the defendant’s unopposed Motion to Continue Change of Plea Hearing
                [71] is granted;

         2.     That the Change of Plea hearing is continued to April 5, 2007 at 9:00 a.m.
                before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
                Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

        For this defendant, the time between March 22, 2007 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 27th day of March, 2007.

                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
